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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

 

JOHN DOE,
Plaintiff,
-against- Case No. 1:19-cv-719
RENSSELAER POLYTECHNIC INSTITUTE (“RPI”); | Hon. Daniel J. Stewart
Defendant.
PROTECTIVE ORDER

The parties to this Protective Order have agreed to the terms of this Order, accordingly, it
is ORDERED:

1. Purpose: The Parties, by and through counsel, stipulate and agree that this Protective
Order ~ and any designation of a document, material or information (whether written, graphic, or
electronic) as being “PROTECTED INFORMATION?” subject to this Protective Order — is
intended solely to facilitate prompt and efficient discovery and the preparation for trial of this case,

2, Scope: As used in this Protective Order, the term “documents” means all written
material, videotapes and all other tangible items, produced in whatever format (e.g., hard copy,
electronic, digital, etc.) and on whatever media (e.g., hard copy, videotape, computer diskette, CD-
ROM, DVD, hard drive or otherwise). This Protective Order shall govern all “PROTECTED
INFORMATION?” including all items and information exchanged during discovery including
copies, excerpts, summaries, or compilations thereof, produced by any party or third party to this
proceeding (the “Supplying Party’) to any other party (the “Receiving Party”), This Protective

Order is binding upon all Parties and their counsel in this case, including their respective corporate
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parents, subsidiaries, and affiliates and their respective attorneys, principals, experts, consultants,
representatives, officers, employees, and others as set forth in this Protective Order. If additional
parties are added other than parents, subsidiaries or affiliates of current parties to this litigation,
then their ability to receive “PROTECTED INFORMATION” as set forth in this Protective Order
will be subject to them being bound, by agreement or Court Order, to this Protective Order,

a Third Parties who so elect may avail themselves of and agree to be bound by the
terms and conditions of this Protective Order and thereby become a Supplying Party
for purposes of this Protective Order.

b, Nothing herein shall be construed to affect, in any manner, the admissibility at trial
or in any other Court proceeding of any document, testimony, or other evidence,

3. “PROTECTED INFORMATION” as used in this Protective Order means
information for which the Supplying Party or the Supplying Party’s counsel makes a good faith
determination as containing confidential information, student records, medical or psychiatric
information, or information that is of a protected, proprietary or business nature and not readily
known or available to competitors, potential competitors, or the public, the disclosure of which
(whether separately or in conjunction with other information being produced) is believed in good
faith by the Supplying Party to have the potential, if disclosed, for causing harm to it.

4, Any designation of “PROTECTED INFORMATION?” under this Protective Order
shall not be construed as an admission or an agreement by any party:

a. That the designated disclosure constitutes or contains confidential or proprietary
information; or

b. That any document, material or information, or any portion thereof, constitutes
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competent, material, relevant, or admissible evidence in this case.
This Protective Order is entered into solely to facilitate a reasonable and prompt disclosure of
discovery materials in this case.

5. The designation of a document as PROTECTED shall be made by placing or
affixing on the material in a manner that will not interfere with its legibility the words
“PROTECTED INFORMATION. DOCUMENT SUBJECT TO PROTECTIVE ORDER” as long
as the designation is conspicuously placed on produced documents in a uniform manner, All such
copies shall thereafter be entitled to the protection of this Protective Order. Any Supplying Party
may unilaterally designate as “PROTECTED INFORMATION” all or any part of documents
produced by it in the course of litigation or in response to a subpoena or informal request. Further,
any party to this Order may designate as “PROTECTED INFORMATION” any document
produced by | another party or third party, which document(s) shall remain “PROTECTED
INFORMATION” under this Protective Order for a period of 30 days, after which the document
shall be “PROTECTED INFORMATION” unless the party opposing the “PROTECTED
INFORMATION” designation makes an application to the Court for an order directing that the
document(s) shall not remain “PROTECTED INFORMATION” under the terms of this Protective
Order, This 30-day provision does not apply to documents designated as PROTECTED
INFORMATION by the Supplying Party who produced those documents.

6. Information, documents or other materials or data produced in discovery prior to
the inception of this Protective Order may be retroactively designated as “PROTECTED
INFORMATION?” within 30 days of the Court executing this Order.

7. Deposition testimony or any portion thereof may be designated as “PROTECTED
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INFORMATION.” If at the time a deposition is taken, any Party designates the deposition in its
entirety as “PROTECTED INFORMATION” under this Protective Order, the designating Party
shall, within 30 days of receipt of the transcript, identify the specific testimony in the transcript
(line and page) which it seeks to protect as contemplated by this Protective Order. The failure to
identify the portions of the transcript which the party seeks to protect within the 30-day time period
shall be deemed a withdrawal of the “PROTECTED INFORMATION” designation as asserted on
the entirety of the transcript.

8. This Protective Order shall not be construed as a waiver by any party of the right to
contest the designation of documents as “PROTECTED INFORMATION?” under this Protective
Order. Any party desiring to contest the protected designation of specific documents as
“PROTECTED INFORMATION” may do so at any time and shall give the Supplying Party notice
in writing (a letter to all counsel of record delivered by email shall be sufficient) including the
listing of any such document(s) or the bates ranges for the document(s), and shall provide a brief
explanation of the basis for contesting the “PROTECTED INFORMATION?” designation (the
‘Notice”), If the Parties cannot stipulate to the designation as “PROTECTED INFORMATION”
within thirty (30) days of the Supplying Party’s receipt of such written notice, the Contesting Party
has the burden of making an application to the Court for an order directing that the “PROTECTED
INFORMATION?” designation under the terms of this Protective Order be removed.

9, All references in motions or briefs to information designated as “PROTECTED
INFORMATION?” or any other “PROTECTED INFORMATION” shall be filed under seal to the
extent permitted by applicable Court rules and procedure, Neither this Protective Order nor any

other sealing order constitutes blanket authority to file entire documents under seal. Only
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PROTECTED INFORMATION is subject to sealing. To the extent that a brief, memorandum or
pleading references any document marked as PROTECTED INFORMATION, then the brief,
memorandum or pleading shall refer the Court to the particular exhibit filed under seal without
disclosing the contents of the PROTECTED INFORMATION. If, however, the PROTECTED
INFORMATION must be intertwined within the text of the document, a party may timely move
the Court for leave to file both a redacted version for the public docket and an unredacted version
for sealing. Pending a Court determination, no document designated as “PROTECTED
INFORMATION” under this Order shall be disseminated other than as provided by this Order.

10. Any document, material, or information designated as “PROTECTED
INFORMATION” under this Protective Order shall not be used or disclosed by any Receiving
Party, or their counsel or any person acting on his/her behalf to any,other persons except as
provided for in this Protective Order, and shall not be used for any business or competitive purpose,
or for any other purposes whatsoever, other than the preparation and trial of this case .

11, Documents designated as “PROTECTED INFORMATION?” under this Order
shall not be disclosed to any other person or entity, except in the following circumstances:

a. Disclosure may be made to employees of counsel for Plaintiffs or Defendants who
have direct functional responsibility for assisting in the preparation and trial of this
case or any appeal herein. Any employee to whom disclosure is made shall be
advised of, shall become subject to, and shall agree in advance of disclosure of
“PROTECTED INFORMATION” to this Protective Order requiring that the material.
and information be held in confidence.

b. Disclosure may be made to consultants or experts (hereinafter, “consultant/expert”)
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employed or retained by Plaintiffs or Defendants, or their counsel, to assist in the
pursuit, preparation and trial of this litigation. However, prior to disclosure to any
consultant/expert (including undisclosed), the consultant/expert must agree to be
bound by the terms of this Protective Order by executing the acknowledgement
annexed hereto as “Exhibit A.” A copy of each executed acknowledgement shall
be maintained for Plaintiffs’ consultants/experts by Plaintiffs’ Counsel and for
Defendants’ consultants/experts by Counsel for Defendants,

c. Disclosure may be made to the Parties, including representatives, directors, counsel
for directors, insurers, officers, employees, trustees, officials and administrators to
the extent required for assisting in the preparation and trial of this case or any appeal
herein or for internal business purposes. To the extent such disclosure is made, such
Party shall be advised of, shall become subject to, and shall agree in advance of
disclosure of “PROTECTED INFORMATION?” to the provisions of this Protective
Order requiring that the material and information be held as confidential.

d. Disclosure may be made to the Court and Court personnel (including the court
having jurisdiction over any appeal).

e, Disclosure may be made to any mediators, secretaries, paraprofessional assistants,
and other employees of such mediators who are actively engaged in assisting the
mediators in connection with this matter.

f Disclosures may be made to employees of outside copying, document imaging, and
facsimile services.

g, Disclosures may be made to a Party’s witnesses or deponents in the course of this
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litigation, only as necessary for the litigation and only after such person has been
informed of the Protective Order and has agreed in writing to be bound by it, by
signing the form of acknowledgement annexed as Exhibit “A”.

12. If another court or an administrative agency subpoenas or otherwise orders
production of “PROTECTED INFORMATION?” that a person has obtained under the terms of
this Order, the person to whom the subpoena or other process is directed shall promptly notify the
counsel of record for the Supplying Party in writing via email of all of the following: (a) the
“PROTECTED INFORMATION” that is requested for production in the subpoena or other
process; (b) the date on which compliance with the subpoena is requested; (c) the location at which
compliance with the subpoena is requested; (d) the identity of the party serving the subpoena; and
(e) the case name, jurisdiction and index, docket, complaint, charge, civil action or other
identification number or other designation identifying the litigation, administrative proceeding or
other proceeding in which the subpoena or other process has been issued. In no event shall
“PROTECTED INFORMATION” be produced prior to the expiration of fifteen (15) days
following transmission of written notice to counsel of record for the Supplying Party unless
required to do so by the order seeking the documents.

13. If any party learns of any unauthorized disclosure of documents or information
designated as “PROTECTED INFORMATION” by Parties or counsel in this litigation, it shall
immediately inform the Court and Parties in this litigation in writing of all pertinent facts relating
to such disclosure.

14. Inadvertent production of any document or information without a designation of

“PROTECTED INFORMATION?” will not be deemed to waive a later claim to its PROTECTED
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nature or preclude a party-from designating said document or information as “PROTECTED
INFORMATION” pursuant to this Protective Order at a later date. Any party may designate as
“PROTECTED INFORMATION” or withdraw a “PROTECTED INFORMATION” designation
from any material that it has produced, provided, however, that such re-designation shall be
effective only as of the date of such re-designation.

15. Inadvertent production of documents (hereinafter “Inadvertently Produced
Documents”) subject to work-product immunity, the attorney-client privilege, or other legal
privilege protecting information from discovery shall not constitute a waiver of the immunity or
privilege, provided that the party producing the documents shall notify al Parties in writing within
a reasonable period of time from discovery of the inadvertent production. If such notification is
made, such Inadvertently Produced Documents and all copies thereof shall, upon request, be
returned to the party making the inadvertent production, all notes or other work product of the
Receiving Party reflecting the contents of such materials shall be destroyed, and such returned or
destroyed material shall be deleted from any litigation-support or other database. If the party
receiving the production disputes in writing the claim of privilege, they may retain possession of
the Inadvertently Produced Documents as well as any other work product of the Receiving Party
reflecting contents of such materials pending the resolution by the Court of the motion. The party
receiving such Inadvertently Produced Documents may, after receipt of the notice of inadvertent
production, move the Court to oppose the request for return of the subject materials, Each party
retains all rights and arguments as to any proceeding regarding Inadvertently Produced Documents.

16. Upon final termination of this litigation, whether by judgment, settlement or

otherwise, upon written request from counsel for the Supplying Party, counsel for all Parties shall
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return to counsel for the Supplying Party all materials and all copies thereof in his/her possession
that were designated by Supplying Party as “PROTECTED INFORMATION” in accordance with
this Protective Order and/or, in the alternative, provide a written statement to counsel for the
Supplying Party that all copies of such materials in his or her possession, including copies upon
which any notes have been made, have been destroyed.

17. Any party for good cause shown may apply to the Court for modification of this
Protective Order or the Protective Order may be modified by consent of the Parties in writing. This
Protective Order shall remain in full force and effect and each person subject to this Protective
Order shall continue to be subject to the jurisdiction of this Court, for the purposes of this Order.

18. This Order is entered based on the representations and agreements of the parties
and for the purpose of facilitating discovery. Nothing herein shall be construed or presented as a
judicial determination that any documents or information designated as a “PROTECTED
INFORMATION?” by counsel or the parties is subject to protection under Rule 26(c) of the Federal
Rules of Civil Procedure or otherwise until such time as the Court may rule on a specific document
or issue.

19. This Agreement may be signed by the parties in counterparts and a facsimile

signature shall constitute an original signature for such purposes.

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(Sebtt Wiseman, Esq. Rhiannon IJ, Spencer, Esq.
Attorneys for Plaintiff Attorneysfar Defendant

   
  

APPROVED AND SO ORDERED.

HonkrabldDanipr. Sw
UnitedSta agistrate Judge

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